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ORIGINAL FILED

JUL 15 2016

U.S. COURT OF
FEDERAL CLAIMS

IN THE UNITED STATES COURT OF FEDERAL CLAIMS

BITMANAGEMENT SOFTWARE GMBH,
Plaintiff, 4

v. Case vo ok 6 ” 84 Q) C

THE UNITED STATES OF AMERICA,

Defendant.

COMPLAINT

Plaintiff Bitmanagement Software GmbH (“Bitmanagement”), through its undersigned
counsel, states and alleges as follows:

INTRODUCTION

1. This action arises out of the United States Navy's willful infringement of
copyrights owned by Bitmanagement through the Navy’s copying and installation of
Bitmanagement’s 3D virtual reality software—known as BS Contact Geo—on hundreds of
thousands of computers for which the Navy does not have a license.

2. In 2011 and 2012, Bitmanagement agreed to license its software to the Navy on a
limited and experimental basis. Those individual PC-based licenses authorized the Navy to
install BS Contact Geo on a total of just 38 computers for the purposes of testing, trial runs, and
integration into Navy systems. In order to facilitate such testing and integration of the software
on Navy computers in preparation for the large scale licensing desired by the Navy, it was
necessary for Bitmanagement to remove the control mechanism that tracked and limited the use

of the software.
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3. Based on the quality and performance of BS Contact Geo—including the
interactive functionality and high-quality graphics that make it particularly useful to large
military organizations—the Navy determined that it would deploy the software on a larger scale,
and began negotiations with Bitmanagement for the purchase of numerous additional licenses.

4, While those negotiations were ongoing, however, and without Bitmanagement’s
advance knowledge or consent, the Navy installed BS Contact Geo software onto hundreds of
thousands of computers. Bitmanagement did not license or otherwise authorize these uses of its
software, and the Navy has never compensated Bitmanagement for these uses of
Bitmanagement’s software.

5. The Navy’s actions constitute willful copyright infringement pursuant to 17
U.S.C. ch. 5 and 28 U.S.C. § 1498(b), for which Bitmanagement is entitled to recover not less
than $596,308,103 in damages.

PARTIES

6. Plaintiff Bitmanagement. a German corporation with its headquarters in Berg,
Germany, develops and sells computer software and provides associated maintenance, support,
and other professional services to commercial and government customers.

7. Defendant is the United States of America, including but not limited to the United
States Department of Defense; United States Department of the Navy; United States Navy; and
Naval Facilities Engineering Command (“NAVFAC”) (collectively, the “Navy” or the
“Government”).

JURISDICTION AND VENUE
8. ‘The Court has jurisdiction over this civil action as it arises under the Copyright

Laws of the United States, in particular 28 U.S.C. § 1498(b), which is implicated “whenever the
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copyright in any work protected under the copyright laws of the United States [is] infringed by
the United States, by a corporation owned or controlled by the United States, or by a contractor,
subcontractor, or any person, firm, or corporation acting for the Government and with the
authorization or consent of the Government.”

9. 28 U.S.C. § 1498(b) provides that “the exclusive action which may be brought
for” such infringement “shall be an action by the copyright owner against the United States in the

Court of Federal Claims.”

FACTS
A, The Navy’s Initial Limited License and Testing of Biimanagement’s Software
10. Founded in 2002, Bitmanagement is a pioneer in the development of virtual

reality software with three-dimensional graphics. Among other products, Bitmanagement has
developed BS Contact Geo, a computer software application that facilitates the visualization of
3D geographic information, BS Contact Geo uniquely enables interactive collaboration among
multiple users in one virtual environment simultaneously, with high-quality graphics that appear
crisp and sharp even on simple computers.

11. BS Contact Geo is the sole property of Bitmanagement and was developed by
Bitmanagement exclusively at Bitmanagement’s expense.

12. The interactive functionality and high-quality graphics of BS Contact Geo make it
particularly useful to large military organizations. The virtual reality it creates facilitates users’
visualization of a “virtual military base.” Accordingly, NAVFAC has acknowledged the
capabilities of BS Contact Geo and its potential value to Navy operations.

13. Beginning in 2011, NAVFAC began using BS Contact Geo on a limited

experimental basis to prepare for a large-scale rollout later. For this purpose, the Navy and
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Bitmanagement’s resellers executed contracts for limited licenses that allowed the installation of
BS Contact Geo on a total of 38 Navy personal computers,

14. At the Navy’s request, Bitmanagement removed the control mechanism that
normally would track and limit the copying of the software. Bitmanagement agreed to this
modification solely for the purpose of preparing for a large licensing rollout of BS Contact Geo.

15. Bitmanagement provided servicing and maintenance of the installed software for
an additional fee and provided the Navy with some upgrading of the software.

B. The Navy Expresses Interest in Licensing BS Contact Geo on a Large Scale

16. Following extensive testing and trial runs, the Navy determined that BS Contact
Geo satisfied the performance criteria necessary for its use on a wider scale, including
compatibility with NAVFAC’s important software application, known as SPIDERS.

17. NAVFAC acknowledged that additional licenses were necessary for it to
distribute BS Contact Geo widely to its users. Accordingly, in preparation for a widespread
deployment of BS Contact Geo, NAVFAC Deputy Program Manager Alexandre Viana engaged
in extended written and oral discussions and negotiations with Bitmanagement. In these
communications, Mr. Viana stated that the Navy was interested in deploying BS Contact Geo on
a wide scale and expressly acknowledged that the Navy needed additional licenses in order to do
sO.

18. For example, ina July 18, 2013 email to Bitmanagement’s chief executive officer,
Mr. Viana attached a deployment schedule indicating the planned installation of BS Contact Geo
on 558,466 Navy computers. In his email, Mr. Viana wrote: “Looks like there will be great

opportunity to increase the number of BC Contact Geo licenses in the future. ;).”
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19. In other communications with Bitmanagement, Mr. Viana made similar
statements regarding the Navy’s interest in purchasing licenses to enable the Navy to install BS
Contact Geo on hundreds of thousands of machines.

20. In July 2015, the Navy issued a “Justification for Other than Full and Open
Competition” document that recognized the uniquely valuable nature of the proprietary BS
Contact Geo software, and the Navy’s need for “software license procurement and technical
support services” from Bitmanagement.

C.. The Navy's Unauthorized Copying of Bitmanagement's Software

21. Even as it negotiated with Bitmanagement over the proposed large-scale licensing
of its product, the Navy was simultaneously copying and installing that software, without
Bitmanagement’s advance knowledge or authorization, on a massive scale. Starting in or around
August 2013, NAVFAC installed BS Contact Geo on hundreds of thousands of Navy personal
computers. These installations took place without Bitmanagement’s advance knowledge or
consent and without any license to do so.

22. In October 2013, Bitmanagement executives received forwarded emails indicating
that BS Contact Geo had already been deployed onto at least 104,922 Navy computers. This
deployment was part of a larger rollout of the software onto at least 558,466 computers on the
Navy’s network. These installations were a surprise to Bitmanagement’s executives, who had
been negotiating the Navy’s purchase of additional licenses with Mr. Viana and did not expect
that the software would be deployed onto additional computers without first agreeing upon the
applicable software license rights.

23. On information and belief, BS Contact Geo has been deployed onto at least

558,466 Navy computers. It is likely that this unauthorized copying has taken place on an even
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larger scale. Bitmanagement has no control over the Navy’s computers and cannot prevent
further unauthorized copying of BS Contact Geo onto additional computers within or outside the
Navy.

24, To make matters worse, starting in 2014, the “Flexwrap” software intended to
track the Navy’s use and duplication of BS Contact Geo on Navy computers was disabled. This
change made it impossible for Bitmanagement to know the scope of the deployment and use of
BS Contact Geo on unlicensed machines or to limit that use.

25. The disabling of Flexwrap was also a violation of the terms under which
NAVFAC’s limited-quantity PC licenses had been granted. The Navy’s contract with
Bitmanagement’s reseller expressly provided that the software would be “ENABLED BY
NAVFAC USING FLEXERA SOFTWARE’S FLEXWRAP.”

26. At the time that the Navy made unauthorized copies of BS Contact Geo,

Bitmanagement’s commercial list price for a license authorizing the installation of BS Contact

Geo onto a single PC was €800, At that time, on information and belief, €800 was equivalent to.

approximately US $1067.76.

27. For years, Bitmanagement, both on its own and through designated advisors, has
tried repeatedly to communicate with Navy officials to resolve this matter, including by
negotiating payment for licenses equal to the number of copies that the Navy had made. Those
efforts have been unsuccessful, and no software license has been executed to authorize the

Navy’s mass deployment of BS Contact Geo or to compensate Bitmanagement for the use of its

property.
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CAUSE OF ACTION
Copyright Infringement in Violation of 28 U.S.C. § 1498(b)

28. Bitmanagement incorporates by reference all the allegations set forth in the
preceding paragraphs 1| through 27.

29. At a substantial investment of time, effort, and expense, Bitmanagement created,
developed, tested, and marketed its software-—including software called BS Contact Geo—to
commercial customers and government agencies. Bitmanagement software consists of computer
programs that are original works of authorship, expressed in words, numbers, and/or other verbal
or numerical symbols or indicia.

30. The Copyright Act of 1976, as amended, protects “original works of authorship
fixed in any tangible medium of expression, now known or later developed, from which they can
be perceived, reproduced, or otherwise communicated, either directly or with the aid of'a
machine or device.” 17 U.S.C. § 102(a). Works of authorship include “literary works,” which
are defined as “works, other than audiovisual works, expressed in words, numbers, or other
verbal or numerical symbols or indicia.” fd. § 101, Such protected works include computer
software.

31. Unauthorized copying and distribution of a copyrighted work violates a copyright
owner’s exclusive rights to “reproduce the copyrighted work in copies” and to “to distribute
copies .. . of the copyrighted work to the public.” Jd. §§ 106(1), (3).

32. As the author of its software, Bitmanagement owns the copyright in these works.

33. BS Contact Geo is registered under United States copyrights TX-8-212-961, TX-

8-212-988, and TX-8-213-004.
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34, In addition, BS Contact Geo, which was created and first published outside the
United States, is a non-“United States work” under 17 U.S.C. §§ 101 and 411(a) that is protected
by United States copyright law. BS Contact Geo is a protected work under the Berne
Convention, to which the United States and Germany are parties.

35. The Government purchased licenses for the installation of BS Contact Gco on a
maximum of 38 personal computers. Bitmanagement was given to understand that the
Government would eventually acquire hundreds of thousands of licenses of BS Contact Geo.

36. However, since 2013, on information and belief, the Government has copied and
installed BS Contact Geo, including but not limited to version 8001 of BS Contact Geo, on at
least 558,466 unlicensed machines. On information and belief, the Government continues to use
BS Contact Geo without the required licenses.

37. In communications with Bitmanagement, the Government has acknowledged
having installed Bitmanagement software on a far greater number of machines than those for
which it had acquired licenses.

38. The Government knew or should have known that it was required to obtain a
license for copying Bitmanagement software onto each of the devices that had Bitmanagement
software installed. The Government nonetheless failed to obtain such licenses.

39. By copying, installing, and using Bitmanagement software without entering into
software license agreements and paying the required license fees, the Government has willfully
infringed, and on information and belief continues to willfully infringe, Bitmanagement’s
exclusive rights under the Copyright Act. In so doing, the Government has subjected itself to

liability under 28 U.S.C. § 1498(b).
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40. | As aconsequence of the foregoing infringement, Bitmanagement has suffered,
and continues to suffer, substantial injury to its business and to its ownership rights in its
software. Under 28 U.S.C. § 1498(b), Bitmanagement is entitled to recover damages for the

infringements described herein.

WHEREFORE, Bitmanagement prays for the following relief:
(1) Judgment against the Government awarding to Bitmanagement damages, including
but not limited to lost profits, unpaid fees, development costs, all losses resulting from
the infringement of Bitmanagement’s intellectual property, and/or all damages available
under the United States Copyright Law and other applicable law, in an amount not less
than $596,308,103 (the market value of unpaid licenses), exclusive of statutory damages,
pre-judgment interest, post-judgment interest, punitive damages, costs, and attorney’s
fees; and

(2) Such further relief as the Court deems just and proper.
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Dated: July 15, 2016

Respectfully Submitted,

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RULE 7.1 DISCLOSURE STATEMENT
Pursuant to Rule 7.1 of the Rules of the United States Court of Federal Claims, plaintiff
Bitmanagement Software GmbH states that it has no parent corporation and no publicly held

corporation owns 10% or more of its stock.

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